Case 1:18-cv-02921-.]|\/|F Document 498-6 Filed 11/06/18 Page 1 of 3

IN THE UNITED STATES DISTRICT C()URT
FOR THE SOUTHERN DISTRICT OF NEW Y()RK

 

STATE OF NEW YORK, et al.,
Plaintiffs, Civil Action No. l:lS-cv-2921-JMF

NEW YORK IMMIGRATION
COALITION, et al.,

Consolidated Plaintiffs

V.

UNITED STATES DEPARTMENT OF
COMMERCE, et al.,

Defendants.

 

 

SUPPLEMENTAL AFFIDAVI'I` OF MARCHELLE FRANKLIN

Pursuant to 28 U.S.C. § 1746, l, Marehelle Franl<lin, hereby declare as follows:

l. As explained in my October 31 Affidavit, I am the Human Services Director for
the City of Phoenix, Arizona, Where I have been employed since 2002. My previous roles
include serving as Interim Human Services Director, Director of the Police Department’s
Community Affairs Division, and Chief of Staff for former Mayor Phil Gordon. All of the
statements made in my October 31 Affidavit and in this Affidavit are made based on my personal
knowledge, acquired as part of my Work for Phoenix. AS I-Iuman Services Director, part of my
Work includes overseeing the federally-funded social services programs. Accordingly, my Work
requires me to keep apprised of federal grant programs that provide money to Phoenix.

2. As Director of Human Services, l have become familiar with the operations and
funding requirements of several federal grant programs, including Victims of Crime Act

(“VOCA”) Funds, Temporary Assistance for Needy Families (“TANF”) Funds, Low-Income

Case 1:18-cv-02921-.]|\/|F Document 498-6 Filed 11/06/18 Page 2 of 3

Home Energy Assistance (“LIHEAP”) Funds, Head Start Funds, and Workforce Innovation and
Opportunity Act (“WIOA”) Funds. During the course of my work I have also become familiar
with the formulas by which these federal funds are allocated to the State of Arizona and
ultimately to Phoenix. Because I oversee these programs, l am aware of the kinds of services
these programs provide to Phoenix residents As Director of Human Services, l am uniquely
positioned to have oversight of these four federal funding sources that are predicated in part on
decennial census data.

3. As Director of Human Services, l regularly participate in meetings with staff who
directly oversee and administer the four programs discussed in paragraph 2 and in my October
31 Affidavit. During those meetings, we have discussed how Phoenix’s eligibility and allotment
of grant funds are deterrnined, as described in paragraphs 6 through 10 of my October 31
Affidavit. l quickly came to understand during the course of my Work with these programs that
a decrease in Phoenix’s population count will lead to a decrease in its share of the federal
funding for these programs And I understand f based on my professional experience - that the
population data used in applying these formulas is obtained from the Census Bureau.

4. When preparing my October 31 Affrdavit, I confirmed the specific funding
amounts Phoenix receives for the social services grant programs discussed therein, each of which
are predicated at least in part on decennial census data. 1 then confirmed these funding numbers
with available public records and with my City of Phoenix colleagues Who administer these
programs I specifically verified the grant amounts discussed in paragraphs six through ten of my
October 31 Affidavit in this manner. n

5. My experience overseeing these programs forms the basis for my understanding

that a decrease in Phoem`x's population count will lead to a decrease in its share of these federal

Case 1:18-cv-02921-.]|\/|F Document 498-6 Filed 11/06/18 Page 3 of 3

social service grants 1 also understand that a decrease in the overall federal funds allocated to
Arizona for these programs will lead to a decrease in the amount passed through to Phoenix.
6. As I explained in my October 31 Affidavit, decreases in Phoenix’s share of these

federal dollars would result in reductions of critical social services

l declare under penalty of perjury that the foregoing is true and correct
Executed; di?‘/M¢/B , 201 s
ill '

don

M rchelle Franklin

Phoenix, AZ

   

